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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

EDWARD GARCIA,                                       §
              Plaintiff,                             §
                                                     §
v.                                                   §                CIVIL ACTION NO.______
                                                     §
KNIGHT TRANSPORTATION, INC. AND                      §
JUAN SANCHEZ,                                        §
              Defendants,                            §


DEFENDANTS KNIGHT TRANSPORTATION, INC. AND JUAN SANCHEZ'S NOTICE
   OF REMOVAL OF ACTION TO FEDERAL COURT AND DECLARATION OF
             ROBERT W. HELLNER IN SUPPORT THEREOF

       Defendants Knight Transportation, Inc. and Juan Sanchez (collectively hereinafter

"Defendants"), file this Notice of Removal pursuant to 28 U.S.C. §§ 1441 and 1446 as follows1:

                    I.      STATEMENT OF GROUND FOR REMOVAL

       1.      On June 7, 2021, Plaintiff Edward Garcia ("Plaintiff") commenced an action in the

234th Judicial District Court of Harris County, Texas by filing Plaintiff's Original Petition captioned

"Cause No. 202134052; Edward Garcia v. Knight Transportation, Inc. and Juan Sanchez."

("Petition").2 Plaintiff alleges bodily injury damages arising from a motor vehicle accident at

Defendant Knight Transportation, Inc.'s Rancho Dominguez Warehouse in Compton, California on

March 2, 2021.3

       2.      The state court action is one over which this Court has original jurisdiction under the

provisions of 28 U.S.C. § 1332 and may be removed to this Court pursuant to the provisions of 28


1
  By this Notice of Removal, Defendants do not waive any objections they may have as to
service, personal jurisdiction or venue, or any other defenses or objections it may have to this
action. Defendants intend no admission of fact, law or liability by this Notice, and expressly
reserve all defenses, motions and/or pleas.
2
  See attached Declaration of Robert W. Hellner ("Hellner Decl.") at ¶3.
3
  Exhibit 2 - 1 at Page 2.
DEFENDANTS KNIGHT TRANSPORTATION, INC. AND JUAN SANCHEZ'S NOTICE OF REMOVAL OF
ACTION TO FEDERAL COURT AND DECLARATION OF ROBERT W. HELLNER IN SUPPORT THEREOF                      1
     Case 3:21-cv-01603-L Document 1 Filed 07/09/21                 Page 2 of 27 PageID 2



U.S.C. § 1441(b), in that it is a civil action wherein the matter in controversy exceeds the sum or

value of $75,000.00, exclusive of interests and costs, and diversity of citizenship exists between

properly joined parties.4

                 II.     PROCEDURAL REQUIREMENT FOR REMOVAL

       3.      Upon filing of this Notice of Removal of the cause, Defendants gave written notice of

the filing to the Plaintiff and Plaintiff's counsel as required by law.5 A copy of this Notice will be

promptly filed with the clerk of the state court where this cause was originally filed.6 A copy of all

processes, pleadings, and orders have been filed separately with this Court pursuant to 28 U.S.C. §

1446(b).

       4.      Removal is timely as Defendants file this Notice of Removal within the 30-day time

period required by 28 U.S.C. § 1446(b)(1). See Bd. of Regents of Univ. of Tex. Sys. v. Nippon Tel. &

Tel. Corp., 478 F.3d 274, 278 (5th Cir. 2007).

       5.      In accordance with 28 U.S.C. § 1446(a) and Southern District of Texas Local Rule

81, an index of all documents filed with this Notice is attached as Exhibit 1; all pleadings asserting

causes of action and all answers in the state court action with Cause No. 202134052 are attached as

Exhibit 2; a copy of the docket sheet in the state court action with Cause No. 202134052 is attached

to this Notice as Exhibit 3; and, a list of all counsel of record, including addresses, telephone

numbers, and parties represented in the state court case is attached as Exhibit 4.

       6.      Pursuant to 28 U.S.C. § 1446(d), Defendants will file a Notice of Filing of Removal

with the State Court.




4
  See Hellner Decl. at ¶¶11 - 14.
5
  See Hellner Decl. at ¶15.
6
  See Hellner Decl. at ¶16.
DEFENDANTS KNIGHT TRANSPORTATION, INC. AND JUAN SANCHEZ'S NOTICE OF REMOVAL OF
ACTION TO FEDERAL COURT AND DECLARATION OF ROBERT W. HELLNER IN SUPPORT THEREOF                     2
     Case 3:21-cv-01603-L Document 1 Filed 07/09/21                   Page 3 of 27 PageID 3



       7.       Pursuant to Rule 11 of the Federal Rules of Civil Procedure, undersigned counsel

certifies that he has read this Notice of Removal, that to the best of his knowledge, information, and

belief, formed after reasonable inquiry, it is well-grounded in fact and is warranted by existing law

or good faith argument for the extension, modification, or reversal of existing law, and that it is not

interposed for any improper purpose.

       8.       All properly joined and served Defendants consent to the removal of this action.7

                                           III.    VENUE

       9.       Venue is proper in this district under 28 U.S.C. § 1441(a) because the state court

where the suit has been pending is located in this district.8

                                          IV.     PARTIES

       10.      According to the Petition, Plaintiff was a citizen of Texas at the time suit was

commenced.9

       11.      Defendant Knight Transportation, Inc. is a citizen of the State of Arizona because it is

a corporation duly incorporated in the State of Arizona with its principal place of business located at

Phoenix, Arizona.10 Defendant Knight Transportation, Inc. was served with the citation and petition

through its registered agent for service of process, CT Corporation System, on June 10, 2021.11

       12.      Defendant Juan Sanchez is an individual who is a citizen of Orange County,

California.12

       13.      Defendants filed their Original Answer in State Court on July 6, 2021.13



7
  See Hellner Decl. at ¶10.
8
  Exhibit 2 - 1; see Hellner Decl. at ¶4.
9
  Exhibit 2 - 1 at Page 1; see Hellner Decl. at ¶13.
10
   See Hellner Decl. at ¶12; Exhibit 5.
11
   Exhibit 2 - 3; see Hellner Decl. at ¶¶5 and 7.
12
   See Hellner Decl. at ¶14.
13
   Exhibit 2 - 4; see Hellner Decl. at ¶¶8 - 9.
DEFENDANTS KNIGHT TRANSPORTATION, INC. AND JUAN SANCHEZ'S NOTICE OF REMOVAL OF
ACTION TO FEDERAL COURT AND DECLARATION OF ROBERT W. HELLNER IN SUPPORT THEREOF                       3
       Case 3:21-cv-01603-L Document 1 Filed 07/09/21                    Page 4 of 27 PageID 4



                                V.     AMOUNT IN CONTROVERSY

          14.     In his Original Petition, Plaintiff affirmatively pleads that he seeks monetary relief

above $1,000,000.14 The amount in controversy therefore exceeds the sum or value of $75,000.00,

exclusive of interests and costs. 28 U.S.C. § 1332(a).

                                        VI.     JURY DEMAND

          15.     As part of his Original Petition, Plaintiff has demanded a jury in the state-court suit.15

          16.     All fees required by law in connection with this Notice have been tendered and paid

by Defendants.

          WHEREFORE, KNIGHT TRANSPORTATION, INC. AND JUAN SANCHEZ, Defendants,

pursuant to the statutes cited herein and in conformity with the requirements set forth in 28 U.S.C. §

1446, remove this action from the 234th Judicial District Court of Harris County, Texas, to this

Court.

          Dated: July 9, 2021.

                                                          Respectfully Submitted,

                                                          WOOD, SMITH, HENNING & BERMAN, LLP

                                                          /s/Robert W. Hellner
                                                          Robert W. Hellner
                                                          State Bar No. 24108154
                                                          901 Main Street, Suite 3670
                                                          Dallas, TX 75202
                                                          Phone No. 469-210-2050
                                                          Fax No. 469-210-2051
                                                          rhellner@wshblaw.com
                                                          ATTORNEY FOR DEFENDANTS
                                                          KNIGHT TRANSPORTATION, INC.
                                                          AND JUAN SANCHEZ




14
     Exhibit 2 - 1 at Page 2.
15
     Exhibit 2 - 1 at Page 5.
DEFENDANTS KNIGHT TRANSPORTATION, INC. AND JUAN SANCHEZ'S NOTICE OF REMOVAL OF
ACTION TO FEDERAL COURT AND DECLARATION OF ROBERT W. HELLNER IN SUPPORT THEREOF                           4
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                               CERTIFICATE OF SERVICE

        I certify that on July 9, 2021, a copy of Defendants Knight Transportation, Inc. and Juan
Sanchez's Notice of Removal of Action to Federal Court and Declaration of Robert W. Hellner In
Support Thereof was served on all parties and/or counsel of record by electronic service, and the
electronic transmission was reported as complete. My email address is rhellner@wshblaw.com.


                                                    /s/Robert W. Hellner
                                                    Robert W. Hellner




DEFENDANTS KNIGHT TRANSPORTATION, INC. AND JUAN SANCHEZ'S NOTICE OF REMOVAL OF
ACTION TO FEDERAL COURT AND DECLARATION OF ROBERT W. HELLNER IN SUPPORT THEREOF                5
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                         DECLARATION OF ROBERT W. HELLNER

       I, Robert Hellner, hereby state and declare the following:

       1.        I am an attorney at law duly admitted to practice before the courts of the State of

Texas. I am a Partner with WOOD, SMITH, HENNING & BERMAN LLP, attorneys of record for

Defendants, KNIGHT TRANSPORTATION, INC. and JUAN SANCHEZ. I know the following

facts to be true of my own knowledge, and if called to testify, I could competently do so.

       2.        This Declaration is made in support of Defendants, KNIGHT TRANSPORTATION,

INC. and JUAN SANCHEZ's Notice of Removal to Federal Court.

       3.        On June 7, 2021, Plaintiff Edward Garcia ("Plaintiff") filed his complaint against

Knight Transportation, Inc. and Juan Sanchez, Case No. 202134052 in the 234th Judicial District

Court of Harris County, Texas (the "State Court Action").

       4.        A true and correct copy of the Summons and Complaint served upon Defendant

Knight Transportation, Inc. is attached as Exhibit 2-1 hereto. These are the only process, pleadings,

and orders served upon Defendant Knight Transportation, Inc. in this action.

       5.        Defendant Knight Transportation, Inc. was served with the Complaint in this case on

June 10, 2021.

       6.        Defendant Juan Sanchez, is an employee of Knight Transportation, and has not yet

been served.

       7.        Attached hereto as Exhibit 2-3 is a true and correct copy of the proof of service for

the Complaint served on Defendant Knight Transportation, Inc. on June 10, 2021.

       8.        Defendants have appeared in the State Court Action.

       9.        Attached hereto as Exhibit 2-4 is a true and correct copy of the Answer filed on July

8, 2021 on behalf of Defendants in the State Court Action.



DEFENDANTS KNIGHT TRANSPORTATION, INC. AND JUAN SANCHEZ'S NOTICE OF REMOVAL OF
ACTION TO FEDERAL COURT AND DECLARATION OF ROBERT W. HELLNER IN SUPPORT THEREOF                     6
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       10.     Defendant Knight Transportation, Inc. has obtained the consent of its employee, Juan

Sanchez, to remove this action.

       11.     Pursuant to the allegations in the Complaint, Plaintiff is seeking damages in an

amount above $1,000,000 in this matter.

       12.     Defendant Knight Transportation, Inc. is now, and was at the time of the filing of this

action, a citizen of a state other than Texas within the meaning of 28 U.S.C. § 1332(c)(1), because it

is a business entity incorporated under the laws of the State of Arizona, with its principal place of

business in the State of Arizona, specifically Phoenix, Arizona. Attached hereto as Exhibit 5 is a

true and correct copy of the Certification from the Arizona Corporation Commission.

       13.     Pursuant to the allegations in the Complaint, Plaintiff is now, and was at the time of

the filing of this action, a citizen of the State of Texas within the meaning of 28 U.S.C. §1332(a)(1).

       14.     As of the date of service, and to the best of my knowledge, Juan Sanchez is now, and

was at the time of the filing of this action, a citizen of the State of California within the meaning of

28 U.S.C. § 1332(a)(1), because Mr. Sanchez is a citizen of the United State and is domiciled within

the State of California, County of Orange.

       15.     A copy of this Notice is being served on Plaintiff’s counsel.

       16.     Further, a copy of this Notice will be filed with the clerk of the 234th Judicial District

of Harris County, Texas.

       I verify that the information provided in this Declaration is true and correct to the

best of my personal knowledge under penalty of perjury in accordance with the laws of the United

States, including 28 U.S.C. § 1746.

Executed this 9th day of July 2021 at Dallas, Texas.

                                                       ___________________________
                                                       Robert W. Hellner

DEFENDANTS KNIGHT TRANSPORTATION, INC. AND JUAN SANCHEZ'S NOTICE OF REMOVAL OF
ACTION TO FEDERAL COURT AND DECLARATION OF ROBERT W. HELLNER IN SUPPORT THEREOF                        7
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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

EDWARD GARCIA,                                    §
              Plaintiff,                          §
                                                  §
v.                                                §              CIVIL ACTION NO.______
                                                  §
KNIGHT TRANSPORTATION, INC. AND                   §
JUAN SANCHEZ,                                     §
              Defendants,                         §


                                       EXHIBIT LIST

       In accordance with Local Rule 81, Defendants KNIGHT TRANSPORTATION, INC. and

JUAN SANCHEZ submit the following exhibits in support of their Notice of Removal:

 Exhibit          Description                                      Date Filed in State Court

 Exhibit 1        Index of Matters Being Filed

 Exhibit 2        State Court Pleadings

 Exhibit 2-1      Plaintiff's Original Petition                    06/07/2021

 Exhibit 2-2      Request for Issuance of Service                  06/07/2021

 Exhibit 2-3      Return of Service                                06/11/2021
                  Defendants Knight Transportation, Inc. and
 Exhibit 2-4                                                       07/08/2021
                  Juan Sanchez's Original Answer
 Exhibit 3        State Court's Docket Sheet

 Exhibit 4        Identification of Counsel of Record
                  Certification of Knight Transportation, Inc.
 Exhibit 5
                  from the Arizona Corporation Commission
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                        EXHIBIT 2 – STATE COURT PLEADINGS


Exhibit 2-1   Plaintiff's Original Petition

Exhibit 2-2   Request for Issuance of Service

Exhibit 2-3   Return of Service

Exhibit 2-4   Defendants Knight Transportation, Inc. and Juan Sanchez's Original Answer
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                                                                              Marilyn Burgess -.District Clerk:Harris County
                                                                                                   Envelope No. 54154860
                                                                                                            By: Lisa Thomas
                                                                                                  Filed: 6/7/2021 12:26 PM

                                       CAUSE NO.

    EDWARD GARCIA,                                                  IN THE DISTRICT COURT OF
        Plaintiff;



    VS.                                                                  HARRIS COUNTY,TEXAS


    KNIGHT TRANSPORTATION,INC and
    JUAN SANCHEZ,
         Defendants.                                                        JUDICIAL DISTRICT

                               PLAINTIFF'S ORIGINAL PETITION

           TO THE HONORABLE JUDGE OF THIS COURT:

           COMES NOW,Plaintiff Edward Garcia, who files this Original Petition against Knight

    Transportation, Inc. ("Knight Transportation") and Juan Sanchez ("Sanchez") (collectively,

"Defendants") as set out below, and would respectfully show this Court the following:

    I.     PARTIES

           Plaintiff Edward Garcia is an individual residing in Texas.

           Defendant Knight Transportation is a corporation doing business in Texas. Defendant may

    be served with process through its registered agent: CT Corporation System at 1999 Bryan Street,

    Suite 900, Dallas, Texas 75201-3136.

           Defendant Juan Sanchez is the individual driving Defendant Knight Transportation's truck.

• Defendant may be served with process in person wherever he may be found.

           DISCOVERY-CONTROL PLAN

•          Discovery is to be conducted under Level 2.

    III.   JURISDICTION AND VENUE




                                                                                             EXHIBIT 2 - 1
 Case 3:21-cv-01603-L Document 1 Filed 07/09/21                    Page 11 of 27 PageID 11



        This Court has jurisdiction over Defendants, as Defendants reside in and/or conduct

continuous and systemic business activities in this state. Venue is proper in Harris County under

Texas Civil Practice & Remedies Code § 15.002 because at least one Defendant maintains a

principal office or residence in this county.

       The subject matter in controversy is within the jurisdictional limits of this Court. Plaintiff':

seeks an amount above $1,000,000 in this matter.

IV.    FACTS

       On or about March 2, 2021, Plaintiff Edward Garcia was leaving Defendant Knight

Transportation's Rancho Dominguez Warehouse in Compton, California.                 Defendant Juan

Sanchez—driving a truck and trailer owned and/or leased by Defendant Knight—was pulling into

the Rancho Dominguez Warehouse. Plaintiff was in the exit lane and stopped when he saw

Defendants' truck approaching to allow him to enter. Defendant Sanchez was travelling too fast

when entered the warehouse and the trailer smashed into Plaintiffs truck. The incident report

filled out by the officer on site stated that Defendant Sanchez admitted he hit Plaintiff.

       The incident caused significant injuries to Plaintiff. Plaintiff has suffered, and continues

to suffer, from these injuries, and now brings suit to recover damages.

V.     CAUSES OF ACTION

     A. NEGLIGENCE

       Plaintiff re-alleges each aforementioned allegation as if fully incorporated below.

       Defendants owed a duty of reasonable care to Plaintiff. Defendants breached the duty of

reasonable care in one or more of the following non-exclusive ways, among others:

           1. Failing to safely operate the vehicle;

           2. Failing to maintain control of the vehicle;



                                                 2


                                                                                             EXHIBIT 2 - 1
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            3. Failing to control speed;

           4. Failing to observe and follow traffic laws;

           5. Failing et) keep a proper lookout;

           6. Failing to ensure employees and contractors observe and follow traffic laws;

           7. Failing to create and/or enforce necessary policies and procedures;

           8. Violating various statutes and regulations, including the Texas Transportation Code

               and the California Transportation Code; and

           9. Failing to act as a person of ordinary prudence would have acted in the same or

               similar circumstances.

       Each of these acts and omissions, singularly or in combination with others, constitute

negligence which was the proximate cause of this incident and Plaintiff's injuries.

   B. NEGLIGENCE PER SE

       Plaintiff re-alleges each aforementioned allegation as if fully incorporated below.

       Defendants' conduct was negligence per se because of the breach of duty imposed by

statute, resulting in Plaintiff's injuries. Specifically, there was a breach ofduties imposed by law,

including, but not limited to, sections of the Transportation Code and/or Vehicle Code which set

forth that a vehicle is not to enter a driveway or roadway, or turn a vehicle, unless movement can

be made safely.

   C. AGENCY,RESPONDEAT SUPERIOR,AND VICARIOUS LIABILITY

       Plaintiff re-alleges each aforementioned allegation as if fully incorporated below.

       At the time of the incident, Defendant Sanchez was employed by Defendant Knight

Transportation and was acting in the course and scope of his employment. Defendant Sanchez was

an agent of Defendant Knight Transportation. As such, Defendant Knight Transportation is



                                                 3


                                                                                           EXHIBIT 2 - 1
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responsible for the conduct ofDefendant Sanchez due to the relationship that existed, among other

acts and omissions of negligence.

      D.'NEGLIGENT           HIRING,        NEGLIGENT           SUPERVISION,          NEGLIGENT

        ENTRUSTMENT

        Plaintiff re-alleges each aforementioned allegation as if fully incorporated below.

        Defendant Knight Transportation failed to properly screen and hire Defendant Sanchez.

Further, Defendant Knight negligently entrusted the vehicle, as they knew or had reason to know

that Defendant Sanchez should not have been operating the vehicle.

        Each of these acts and omissions, singularly or in combination with others, constitute

negligence which was the proximate cause of this incident and Plaintiff's injuries.

      E. GROSS NEGLIGENCE

        Plaintiff re-alleges each aforementioned allegation as if fully incorporated below.

        Plaintiff will further show that the acts and/or omissions of Defendants, when viewed

objectively from Defendants' standpoint, involve an extreme risk considering the probability and

magnitude of the potential harm to others, namely those on the work site. Defendants had actual ,

subjective awareness of the risk involved, but nevertheless proceeded in conscious indifference to

the rights, safety, and/or welfare of others, including Plaintiff.

        Defendants knew or should have known of the risk or risks associated, and its actions and

omissions constitute gross negligence and malice. Thus, Plaintiff prays that punitive damages be

awarded against Defendants. Plaintiff would show that nothing Plaintiff did, or failed to do, in any •

way contributed to this incident.

VI.     DAMAGES

        Plaintiff seeks damages for physical pain and suffering in the past and future; mental



                                                  4


                                                                                          EXHIBIT 2 - 1
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anguish in the past and future; physical impairment and disfigurement in the past and future;

medical expenses in the past and future; loss of earning capacity in the past and future; loss of

household services in the past and future; costs of suit; and pre-judgment and post-judgment

interest at the appropriate rate allowed by law. Plaintiff seeks any other and further reliefto which

Plaintiff may show himselfjustly entitled.

        All conditions precedent have been performed or have occurred.

VII.   JURY DEMAND

       Plaintiff respectfully demands a jury trial.

VIII. PRAYER

       For these reasons, Plaintiff asks that Defendants be cited to appear and answer this suit.

Plaintiff prays he recover judgment from Defendants for damages in such an amount that thc

evidence may show, and the trier of fact may determine to be proper. Plaintiff prays for any and

all other relief to which he may be justly entitled.


                                                        Respectfully submitted,

                                                        DALY & BLACK,P.C.

                                                       /s/Andrew Dao
                                                        Andrew Dao
                                                        State Bar No. 24082895
                                                        Kyle Patrick Malone
                                                        State Bar No. 24102128
                                                        2211 Norfolk St., Ste. 800
                                                        Houston, Texas 77098
                                                       (713)655-1405
                                                       (713)655-1587(fax)
                                                        adao@dalyblack.com
                                                        kmalone@dalyblack.com
                                                        ecfs@dalyblack.com (service)

                                                       -and-



                                                  5


                                                                                          EXHIBIT 2 - 1
Case 3:21-cv-01603-L Document 1 Filed 07/09/21    Page 15 of 27 PageID 15



                                        TADGEUGHI LAW GROUP

                                       /s/Ash Tadghighi
                                        Arash 'Ash' Tadghighi
                                        State Bar No. 24090418
                                        39 Harbor View Drive
                                        Sugar Land, Texas 77479
                                       (832)930-1135
                                       (713)583-0095 (fax)
                                        ash@tadghighilaw.com

                                        ATTORNEYS FOR PLAINTIFF




                                   6


                                                                   EXHIBIT 2 - 1
Case 3:21-cv-01603-L Document 1 Filed 07/09/21   Page 16 of 27 PageID 16

                 2021-34052 / Court: 234




                                                                  EXHIBIT 2 - 2
                                                                                                    6/11/2021 9:43 AM
   Case 3:21-cv-01603-L Document 1 Filed 07/09/21                 Page 17 ofMarilyn
                                                                             27 Burgess
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                                                                                                    By: Keeley Hodgins
                                                                                              Filed: 6/11/2021 9:43 AM

                                     CAUSE NO. 2021-34052

EDWARD GARCIA                                     §
PLAINTIFF                                         §
                                                  §
VS.                                               §                       IN THE 234th District Court
                                                  §
KNIGHT TRANSPORTATION, INC, ET AL                                             HARRIS COUNTY, TX
                                                  §
DEFENDANT
                                                  §
                                                  §
                                                  §
                                                  §

                                      RETURN OF SERVICE


ON Wednesday, June 9, 2021 AT 2:13 PM
CITATION, PLAINTIFF'S ORIGINAL PETITION for service on KNIGHT TRANSPORTATION (A
CORPORATION) C/O CT CORPORATION SYSTEM came to hand.

ON Thursday, June 10, 2021 AT 2:37 PM, I, DON ANDERSON, PERSONALLY DELIVERED
THE ABOVE-NAMED DOCUMENTS TO: KNIGHT TRANSPORTATION (A CORPORATION) C/O CT
CORPORATION SYSTEM , by delivering to Intake Specialist: Aaliyah Wamsley, 1999 BRYAN STREET
SUITE 900, DALLAS, DALLAS COUNTY, TX 75201.

My name is DON ANDERSON. My address is 1900 Brown, BALCH SPRINGS, TX 75180. I am a
private process server certified by the Texas Judicial Branch Certification Commission (PSC 4232,
expires 8/31/2022). My e-mail address is info@easy-serve.com. My date of birth is 7/14/1956. I am
in all ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case and have no interest in its outcome. I declare under penalty of perjury
that the foregoing is true and correct.

Executed in DALLAS COUNTY, TX on Thursday, June 10, 2021.

/S/ DON ANDERSON




Edward Garcia

Doc ID: 283283_1




                                                                                          EXHIBIT 2 - 3
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                                                                  EXHIBIT 2 - 3
                                                                                                         7/8/2021 5:18 PM
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                                                                                 27 Burgess
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                                                                                                  Envelope No. 55176898
                                                                                         By: SHANNON NORTH-GONZALEZ
                                                                                                   Filed: 7/8/2021 5:18 PM

                                       CAUSE NO. 2021-34052

EDWARD GARCIA,                                    §                    IN THE DISTRICT COURT
    Plaintiff,                                    §
                                                  §
v.                                                §                OF HARRIS COUNTY, TEXAS
                                                  §
KNIGHT TRANSPORTATION, INC.                       §
and JUAN SANCHEZ,                                 §
      Defendants.                                 §                    234th JUDICIAL DISTRICT


                               DEFENDANTS' ORIGINAL ANSWER


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Defendants Knight Transportation, Inc. and Juan Sanchez (hereinafter

collectively "Defendants”), by and through undersigned counsel, and file this Original Answer,

and in support thereof would show the Court the following:

                                                  I.
                                         SPECIAL EXCEPTIONS

         1.        Defendants specially except to Paragraph A, Subparagraph 8 of Plaintiff's Original

Petition purporting to establish Defendants’ liability for Plaintiff's injury for statutory and

regulatory violations under the doctrine of negligence. The allegations in that paragraph are legally

insufficient to invoke the doctrine, in that the Original Petition fails to specifically identify the

statutes or regulations that apply or assert that the violation of the statutes or regulations impose a

duty to exercise reasonable care. Thus, the doctrine of negligence is not applicable to the facts

pleaded. Therefore, Defendants request the Court sustain Defendants’ Special Exception and order

Plaintiff to replead within 30 days of the Order with specificity to cure the defects raised, or strike

Plaintiff's allegations in his Plaintiff's Original Petition for failure to properly plead.

         2.        Defendants specially except to Paragraph B of Plaintiff's Original Petition

purporting to establish Defendants’ liability for Plaintiff's injury under the doctrine of negligence


DEFENDANTS' ORIGINAL ANSWER                                                                        Page | 1
21439120.1:10092-0108                                                                         EXHIBIT 2 - 4
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per se. The allegations in that paragraph are legally insufficient to invoke the doctrine, in that the

Original Petition does not show that specifically identify the statute that applies, assert that the

violation of the statute was unexcused, that the statutes are of the type that imposes tort liability,

or that the statute purportedly violated was designed to prevent injuries to a class of persons that

the Plaintiff belongs to. Thus, the doctrine of negligence per se is not applicable to the facts

pleaded. Therefore, Defendants request the Court sustain Defendants’ Special Exception and order

Plaintiff to replead within 30 days of the Order with specificity to cure the defects raised, or strike

Plaintiff's allegations in his Plaintiff's Original Petition for failure to properly plead.

                                                   II.
                                           GENERAL DENIAL

        3.         Defendants deny each and every allegation of Plaintiff’s Original Petition and

demand strict proof thereof as required by the Texas Rules of Civil Procedure. Defendants assert

a General Denial as Authorized by Rule 92 of the Texas Rules of Civil Procedure and request that

Plaintiff be required to prove the chargers and allegations against said Defendants by a

preponderance of the evidence as required by the Constitution and the laws of the State of Texas.

                                                   III.
                                        AFFIRMATIVE DEFENSES

         4.        Defendants are not liable to Plaintiff in whole or in party because Plaintiff's own

acts or omissions as well as the acts or omission of another party proximately caused or contributed

to Plaintiff's injuries. If Defendants are found liable for damages, Defendants will seek a reduction

of damages under the proportionate responsibility statute.

         5.        Plaintiff's claims are subject to the proportionate responsibility provisions of

Chapter 33 of the Texas Civil Practice and Remedies Code, including without limitation the




DEFENDANTS' ORIGINAL ANSWER                                                                       Page | 2
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requirement of § 33.003 thereof that the trier of fact determine the relative responsibility of each

claimant, Defendant, and responsible third party that may be joined in this suit.

         6.        Defendants affirmatively plead that, under the provisions of the Texas Civil

Practice and Remedies Code, Plaintiff is barred from recovering punitive damages from these

Defendants. In the alternative, Defendants plead that the applicable statutes place a limitation or

"cap" on the punitive damages or statutory damages which Plaintiff seeks. Furthermore, in

response to all claims to punitive or statutory damages, Defendants affirmatively plead the right to

due process and the prohibition against excessive fines and penalties under both the United States

and Texas Constitutions.

         7.        Plaintiff failed to allege conduct warranting imposition of exemplary or punitive

damages under applicable state law.

         8.        Plaintiff's claim is barred, in whole or in part, due to a failure to mitigate damages.

         9.        Plaintiff's claims are barred, in whole or in part, due to superseding and/or

independent causes.

         10.       Defendants affirmatively plead that this was an unavoidable accident.

         11.       Defendants affirmatively plead Defendant Juan Sanchez encountered a sudden

emergency and, therefore, are not liable to Plaintiff.

         12.       Defendants assert the limitations and restrictions contained in Chapter 41 of the

Texas Civil Practice and Remedies Code.

         13.       Defendants affirmatively plead that they are entitled to a credit or set off in the

amount of any payment, recovery, or settlement that Plaintiff has obtained from any party to

compensate Plaintiff for injuries about which Plaintiff complains.




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         14.       Defendants affirmatively plead their entitlement to an offset for any amount paid

to or received by Plaintiff in this case. At trial, Defendants request that any such amount be offset

from any judgment rendered by the jury.

         15.       Defendants invoke the limitation on liability for medical or health care expenses as

provided by section 41.0105 of the Texas Civil Practice and Remedies Code. Specifically, Plaintiff

is limited to recovery of medical or health care expenses actually paid or incurred by or on behalf

of Plaintiff. Haygood v. De Escabedo, 54 Tex. Sup. Ct. J. 1377 (2011).

         16.       Plaintiff's claim for pre-judgment interest, in so far as it includes interest on any

future damages beyond the time of the verdict, is barred by the Texas Constitution, the Due Process

Clause of the 14th Amendment, and also the Excessive Fines and Penalties Clause of the Eighth

Amendment to the Constitution of the United States of America, as the prayer allows Plaintiff to

recover interest on unaccrued damages during a period.

         17.       Defendants invoke section 18.091 of the Texas Civil Practice and Remedies

Code and requests that to the extent that Plaintiff seeks recovery for loss of earnings, loss

of earning capacity, loss of contributions of a pecuniary value, or a loss of inheritance, that

the evidence to prove such loss must be presented in form of a net loss after reduction for

income tax payments or unpaid tax liability. Defendants further requests that the Court

instruct the jury as to whether any recovery for compensatory damages sought by the

Plaintiff is subject to the federal or state income taxes.

         18.       Defendants would further show that the medical treatment claimed by Plaintiff is

excessive and unnecessary and that the medical expenses claimed were unreasonable and

unnecessary and were not proximately caused by the accident made basis of this lawsuit.




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         19.       Further answering, if same be necessary, and without waiving any of the matters

hereinabove asserted, Defendants would show that Plaintiff's claims of physical and/or mental

ailments in this cause were, in whole or in part, proximately caused solely and/or proximately by prior

and/or subsequent accidents, events, or occurrences.

         20.       To the extent Plaintiff contends or bases his claims upon an alleged violation of a

statutory duty, any recovery is limited, barred, or otherwise subject to statutory caps that apply.

         21.       Defendants hereby assert that Plaintiff's allegation in his Original Petition that

Harris County is the proper venue for this lawsuit is incorrect. TEX. CIV. PRAC. & REM. CODE §

15.002(a)(1).

         22.       Defendants hereby give notice that they intend to rely upon such other defenses as

may become available or apparent during the course of discovery and reserve their right to amend

this answer.

                                                PRAYER

         WHEREFORE, Defendants pray that: (1) the Court sustain Defendants’ Special

Exceptions and order Plaintiff to replead within 30 days of the Order with specificity to cure the

defects raised, or strike Plaintiff's allegations in his Plaintiff's Original Petition for failure to

properly plead; and, (2) Defendants recover all other and further relief, both general and special,

at law and in equity, to which they are justly entitled.




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                                                Respectfully submitted,

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                                                JUAN SANCHEZ



                                CERTIFICATE OF SERVICE

        I certify that on July 8, 2021, a copy of Defendants' Original Answer was served on all
parties and/or counsel of record by electronic service, and the electronic transmission was reported
as complete. My email address is rhellner@wshblaw.com.


                                                     /s/Robert W. Hellner
                                                     Robert W. Hellner




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7/9/2021                                    Office of Harris County District Clerk - Marilyn Burgess | Case (Cause) Details 202134052-7
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                                                                                                                                         Chronological Print
                  202134052 - GARCIA, EDWARD vs. KNIGHT TRANSPORTATION INC (Court 234)                                                      History     All
                                                                                                                                            (non-financial)

                Summary           Appeals             Cost Statements       Transfers          Post Trial Writs           Abstracts                   Parties
               Court Costs   Judgments/Events             Settings       Services/Notices      Court Registry            Child Support                Images

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                96298314       Filing   Return of Service                                                       06/11/2021        2
                96213309       Filing   Plaintiffs Original Petition                                          06/07/2021          6

          ·>      96213310     Filing   REQUEST FOR ISSUANCE OF SERVICE                                       06/07/2021          1




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https://www.hcdistrictclerk.com/edocs/public/CaseDetails.aspx?Get=0pYwhePpuQMXsNufMGw0RdDwJWkuUzk1cCqMd2KcCUhJsiZziQYaQuV7ft3Kt…                                  1/1
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             EXHIBIT 4 – IDENTIFICATION OF COUNSEL OF RECORD


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                                                                    EXHIBIT 5
